 Case 1:06-cr-00045-DML             ECF No. 95, PageID.310         Filed 11/14/06      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                              Case Number 1:06-CR-45-01
v.                                                            Honorable David M. Lawson

JEANNE M. MILLER,

                  Defendant.
______________________________________ /

                 ORDER GRANTING MOTION TO AMEND JUDGMENT

       This matter is before the Court on the defendant’s motion to amend judgment pursuant to

Federal Rule of Criminal Procedure 35 (a). The Court finds that a clerical mistake was made in the

judgment entered on October 26, 2006. The judgment as filed indicates that the defendant is

sentenced to a term of supervised release of “one (1) year as to Count 9, to run consecutively” to the

three-year term of supervised release imposed on Counts 1 and 10. It should read “one (1) year as

to Count 9, to run concurrently” with the period of supervised release ordered on Counts 1 and 10.

       Accordingly, it is ORDERED that the motion to amend judgment [dkt # 92] is GRANTED

and an amended judgment shall enter .

                                               s/David M. Lawson
                                               DAVID M. LAWSON
                                               United States District Judge

Dated: November 14, 2006
Case 1:06-cr-00045-DML        ECF No. 95, PageID.311                           Filed 11/14/06   Page 2 of 2




                                          PR O O F O F SE RV IC E

                  The undersigned certifies that a copy of the foregoing order w as served
                  upon each attorney or party of record herein by electronic means or first
                  class U .S. mail on N ovember 14, 2006.

                                                    s/Felicia M . M oses
                                                    FELICIA M . M OSES




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